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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                20 CR 292 (PKC)

                 -against-                                          ORDER

JOSEPH DAVILA,

                                    Defendant.
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P. KEVIN CASTEL, U.S.D.J.

                 The video plea originally scheduled for Joseph Davila on January 22,

2021 is moved up to January 21, 2021 at 11:00 a.m.

                 SO ORDERED.




Dated: New York, New York
       January 11, 2021
